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Dear Judge Hollander,

Jim has remained a life long friend of mine since I was 17 years old. He is a guy who gave the
shirt off his back and always did favors for everyone and demanded nothing in return. Anything
from lending a hand but most of all when we were younger he handled everyone automotive
needs. Jim was one that always wanted to serve his country in the military through aviation but
couldn't because vision issue but eventuality was able to do so by one volunteering for various
police departments one in which was our hometown Sykesville and then later become an officer
for Brunswick police. Jim's calling was always aviation and inventions that would help aid both
law enforcement and military sectors through his God given knowledge recreating both armor
and guns which was to elevate the safety and effectiveness for those in our law enforcement and
military sectors. Those Inventions are actually being used today.

Jim is a loving father, son, uncle and friend. His kids love him to death and can't wait to reunite
with him once again. Jim has never been a violent person but loving has helped save my life 16
yrs ago through mishaps and addiction to drugs. The community as a whole can't wait to
embrace him when returns home. I ask that you can release him back to where he belongs in life
so in someway he can continue to be a role model to his loved ones and community

Thank you

Ryan Codd
